              Case 1:17-cv-02116-RC Document 18 Filed 03/29/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


STIRLING CIVIL ENGINEERING
LIMITED,

                       Plaintiff,
         v.                                        No. 1:17-cv-02116-RC

GOVERNMENT OF THE UNITED
REPUBLIC OF TANZANIA,

                       Defendant.



                           NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Stirling Civil

Engineering Limited hereby gives notice that the above-captioned action against Defendant

Government of the United Republic of Tanzania is voluntarily dismissed.



Dated:    March 29, 2018                        Respectfully submitted,
          Washington, D.C.

                                                  /s/ Robert K. Kry
                                                Robert K. Kry (D.C. Bar #490545)
                                                James A. Barta (D.C. Bar #1032613)
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                                                Attorneys for Plaintiff
          Case 1:17-cv-02116-RC Document 18 Filed 03/29/18 Page 2 of 2



                              CERTIFICATE OF SERVICE

       I certify that on March 29, 2018, the foregoing document was filed and served on all

parties by ECF.

                                                      /s/ Robert K. Kry
                                                        Robert K. Kry




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